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DOCKET No, 19 MJ 3011 DEFENDANT. Matityau Moshe Maika
AUSA_Jamie Bagliebter DEF'S COUNSEL _ Joseph Vita

CO RETAINED Cl FEDERAL DEFENDERS CIA
Oo INTERPRETER NEEDED DEFENDANT WAIVES PRE-TRIAL REPORT
RuleS ORule9 Role 5(c)(3) O Detention Hrg. DATE OF ARREST. 3/26/2019 C1 VOL. SURR.

‘TIME OF ARREST 1:00 AM ON WRIT
CO Other: TIME OF PRESENTMENT _9:49 PM
BAIL DISPOSITION

DETENTION ON CONSENT W/O PREJUDICE {] DETENTION: RISK OF FLIGHT/DANGER 0) SEE ORDER
C) DETENTION; HEARING SCHEDULED FOR,

C} AGREED CONDITIONS OF RELEASE

(} DEFENDANT RELEASED ON OWN RECOGNIZANCE

Of... PRB

0 PRP

T1 SECURED BY $ CASH/PROPERTY:
O TRAVEL RESTRICTED TO SDNY/EDNY/
CO SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

(7 REGULAR PRETRIAL SUPERVISION O STRICT PRETRIAL SUPERVISION

CO DRUG TESTING/TREATMENT €1 MENTAL HEALTH EVALUATION/TREATMENT

CL] HOME INCARCERATION 0 HOME DETENTION OCURFEW 0 ELECTRONIC MONITORING

1 OTHER CONDITIONS

 

 

 

 

(} DEF, TO BE DETAINED UNTIL ALL CONDITIONS ARE MET

C] DEF, TO BE RELEASED ON OWN SIGNATURE; REMAINING CONDITIONS TO BE MET BY
[] DEF, TO BE RELEASED UPON SATISFACTION OF FOLLOWING CONDITIONS:
; REMAINING CONDITIONS TO BE MET BY

 

 

 

COMMENTS/ADDITIONAL PROCEEDINGS:

Courtflow: 20

AUSA Jamie Bagliebter appearing for the Government.

Joseph Vita (CJA) appointed as counsel for Defendant. Steven Zager present as Yiddish interpreter.
Defendant waives public reading of the complaint.

Defendant is ordered detained on consent without prejudice to making a future bail application.
Preliminary hearing scheduled for April 9, 2019, at 10:00 a.m. before Judge Smith.

C) DEF, ARRAIGNED, PLEADS NOT GUILTY (3 CONFERENCE BEFORE DJ. ON
DO SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161¢h)(7) UNTIL

FOR RULE 5(c)(3) CASES:

 

   

C) IDENTITY HEARING WAIVED 0] PRELIMINARY HEARING WAIVED
{] DEFENDANT TO BE REMOVED ] ON DEFENDANT'S CONSENT
DATE FOR PRELIMINARY HEARING 4/09/2019 / [4 ON DEFENDANT'S CONSENT )
f on !
™ - f ~ Ov / VC /
doa WY .
DATE: 3/26/2019 CV Koen . C99 OAL) a

 

 

UNITED S'TATES mariage S.D.NLY.

WHITE (ORIGINAL) - COURT FILE, FINK - U.S, ATTORNEY'S OFFICE YELLOW - U.S, MARSHAL GREEN - PRETRIAL SERVICES AGENCY
REV. (2011) HH-2

 
